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13    Attorneys for Defendants
14    CITY OF LIVINGSTON; RICHARD WARNE

15
                                     UNITED STATES DISTRICT COURT
16
                                    EASTERN DISTRICT OF CALIFORNIA
17

18   PAUL CREIGHTON, an individual,                           CASE NO.: 1:08-CV-01507-OWW-
                                                              SMS
19
                     Plaintiff,
20                                                            [Assigned to the Hon. Oliver W.
             v.                                               Wanger, Courtroom 3]
21
     CITY OF LIVINGSTON, A California Municipal               STIPULATION FOR DISMISSAL
22
     Corporation, RICHARD WARNE, an individual                AND ORDER
23   and in his official capacity, and DOES 1-20,
     inclusive,                                               Complaint Filed: September 2, 2008
24                                                            FAC Filed: June 2, 2009
                     Defendants.                              Trial Date: June 29, 2010
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     ____________________________________________________________________________________________________________
                            STIPULATION FOR DISMISSAL AND ORDER
     Case 1:08-cv-01507-OWW-SMS Document 39 Filed 03/12/10 Page 2 of 3



 1                                                STIPULATION
 2              Pursuant to Rule 41(a)(1), Federal Rules of Civil Procedure, Plaintiff PAUL
 3   CREIGHTON and Defendants CITY OF LIVINGSTON and RICHARD WARNE, acting through
 4   their respective counsel of record, hereby stipulate that this action be DISMISSED WITH
 5   PREJUDICE, each side bearing its own costs and attorneys’ fees, except as otherwise provided in
 6   the parties’ confidential settlement agreement.
 7

 8   DATE: March 4, 2010                                LAW OFFICE OF DONALD POTTER
 9

10

11                                                      By:___/s/__David Potter__________
12                                                            Donald Potter
                                                              Attorney for Plaintiff,
13                                                            PAUL CREIGHTON
14
      DATE: March 2, 2010                               LIEBERT CASSIDY WHITMORE
15                                                      A Professional Law Corporation

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18
                                                        By:_/s/ Jesse Maddox______________
                                                               Jesse J. Maddox
19                                                             Attorney for Defendants,
                                                               CITY OF LIVINGSTON and
20
                                                               RICHARD WARNE
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     ____________________________________________________________________________________________________________
                            STIPULATION FOR DISMISSAL AND ORDER
     Case 1:08-cv-01507-OWW-SMS Document 39 Filed 03/12/10 Page 3 of 3



 1                                                    ORDER
 2              On the stipulation of the parties, and good cause appearing therefore, this action is
 3   DISMISSED WITH PREJUDICE, each side bearing its own costs and attorneys’ fees, except as
 4   otherwise provided in the parties’ confidential settlement agreement.
 5

 6              IT IS SO ORDERED.
 7

 8   DATE: March 10, 2010                               By:_/s/ OLIVER W. WANGER__________
 9                                                      THE HONORABLE OLIVER W. WANGER
                                                        United States District Court Judge
10                                                      Eastern District, State of California
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                            STIPULATION FOR DISMISSAL AND ORDER
